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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

    TEAM WORLDWIDE CORPORATION,           §
                                          §
               Plaintiff,                 §
                                          §
    v.                                    §   CIVIL ACTION NO. 2:19-CV-00092-JRG
                                          §                    (LEAD CASE)
    ACADEMY, LTD D/B/A         ACADEMY    §
    SPORTS + OUTDOORS,                    §
                                          §
               Defendants.                §

    v.                                    §   CIVIL ACTION NO. 2:19-CV-00093-JRG
                                          §                    (MEMBER CASE)
    ACE HARDWARE CORPORATION,             §
                                          §
               Defendant.                 §


    v.                                    §   CIVIL ACTION NO. 2:19-CV-00094-JRG
                                          §                    (MEMBER CASE)
    AMAZON.COM,      INC.,   AMAZON.COM   §
    LLC,                                  §
                                          §
               Defendants.                §

    v.                                    §   CIVIL ACTION NO. 2:19-CV-00095-JRG
                                          §                    (MEMBER CASE)
    BED BATH & BEYOND INC.,               §
                                          §
               Defendant.                 §


    v.                                    §   CIVIL ACTION NO. 2:19-CV-00096-JRG
                                          §                    (MEMBER CASE)
    COSTCO WHOLESALE CORPORATION,         §
                                          §
               Defendants.                §
                                          §
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    v.                                            §     CIVIL ACTION NO. 2:19-CV-00097-JRG
                                                  §                       (MEMBER CASE)
    DICK'S SPORTING GOODS, INC.,                  §
                                                  §
                Defendant.                        §

    v.                                            §   CIVIL ACTION NO. 2:19-CV-00098-JRG
                                                  §                    (MEMBER CASE)
    HOME DEPOT PRODUCT AUTHORITY,                 §
    LLC, HOME DEPOT U.S.A., INC.,                 §
                                                  §
                Defendants.                       §

    v.                                            §   CIVIL ACTION NO. 2:19-CV-00099-JRG
                                                  §                    (MEMBER CASE)
    MACYS.COM, LLC,          MACY'S RETAIL        §
    HOLDINGS, INC.                                §
                                                  §
                Defendants.                       §

    v.                                            §   CIVIL ACTION NO. 2:19-CV-00100-JRG
                                                  §                    (MEMBER CASE)
    TARGET CORPORATION,                           §
                                                  §
                Defendant.                        §


    v.                                            §   CIVIL ACTION NO. 2:20-CV-00006-JRG
                                                  §                    (MEMBER CASE)
    SEARS, ROEBUCK AND CO., SEARS                 §
    HOLDINGS CORPORATION, MACY'S                  §
    RETAIL HOLDINGS, INC., TRANSFORM              §
    SR LLC, TRANSFORM KM LLC,                     §
                                                  §
                Defendants.                       §

                                                 ORDER
         The Court issues this Order sua sponte. The above-captioned consolidated cases are hereby

   REASSIGNED to the Hon. Robert W. Schroeder III.
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    So ORDERED and SIGNED this 22nd day of October, 2021.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE
